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                               Proposed Order Page 1 of 3



UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

MARK E. FELGER (MF9985)
JERROLD N. POSLUSNY, JR. (JP7140)
COZEN O’CONNOR
LibertyView, Suite 300
457 Haddonfield Road
Cherry Hill, NJ 08002
(856) 910-5000
Proposed Attorneys for the Debtors

In re:                                                    Case No. 08-

SHAPES/ARCH HOLDINGS L.L.C., et al.,                      Judge:

                Debtors.                                  Chapter: 11




               Recommended Local Form:               Followed           Modified


 ORDER AUTHORIZING RETENTION OF EPIQ BANKRUPTCY SOLUTIONS, LLC
  AS OFFICIAL NOTICING, CLAIMS AND/OR SOLICITATION AND BALLOTING
                      AGENT FOR THE DEBTORS

         The relief set forth on the following pages, numbered two (2) through three (3) is hereby
         ORDERED.
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Shapes/Arch Holdings L.L.C., et al.

Case No: 08-

Order Authorizing Retention of Epiq Bankruptcy Solutions, LLC as Official Noticing, Claims and/or Solicitation
and Balloting Agent for the Debtors


In re:           Shapes/Arch Holdings L.L.C., et al.
Case No.:        08-
Applicant:       Shapes/Arch Holdings L.L.C., et al.

                  Trustee:                   Chap. 7                Chap. 11                  Chap. 13

                  Debtors:                   Chap. 11               Chap. 13

                  Official Committee of

Name:                                 Epiq Bankruptcy Solutions, LLC (“Epiq”)
Address:                              757 Third Avenue, 3rd Floor
                                      New York, NY 10017


          Attorney for:               Trustee               Debtors-in-Possession

                                       Official Committee of

          Accountant for:             Trustee               Debtor-in-Possession

                                       Official Committee of

          Other:

                                       Realtor      Appraiser                Special Counsel

                                       Auctioneer  Other (specify): official noticing, claims and/or
                                                                      solicitation and balloting agent
                                                                      for the Debtors



                 Upon the applicants’ request for authorization to retain Epiq, It is hereby

ORDERED as follows:

         1.      The applicants, Shapes/Arch Holdings L.L.C., Shapes L.L.C., Delair L.L.C.,

Accu-Weld L.L.C. and Ultra L.L.C., are authorized to retain the above party in the capacity

noted.



                                                        2
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Shapes/Arch Holdings L.L.C., et al.

Case No: 08-

Order Authorizing Retention of Epiq Bankruptcy Solutions, LLC as Official Noticing, Claims and/or Solicitation
and Balloting Agent for the Debtors


         2.      The fees and expenses of Epiq are to be treated as an administrative expense of

the Debtors’ estates and shall be paid first from its retainer, and then by the Debtors in the

ordinary course of business. Epiq has not received nor will it be entitled to any post-petition

“replenishment” of its retainer.

         3.      The effective date of the retention is the date the application was filed with the

Court.




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                                                        3
